Case 2:17-cr-20183-MAG-RSW ECF No. 241 filed 11/13/18      PageID.983   Page 1 of 8




                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

                    Plaintiff,

 Vs.                                        Case No. 17-cr-20183
                                            Hon. Mark A. Goldsmith

 HAROLD LASHAWN NERO (D-5),

               Defendant.
   _________________________________________________________


         DEFENDANT NERO’S MOTION TO COMPEL DISCOVERY


       Defendant Harold Nero moves this Honorable Court to order the government

 to produce discovery requested by Defendant under Fed. R. Crim. P. 12(b)(4)(B),

 and 16(a)(1).

                                      Respectfully submitted,
 Date: November 13, 2018
                                      By: /s/Mark H. Magidson
                                        MARK H. MAGIDSON (P25581)
                                        Attorney for Defendant Nero (D-5)
                                        615 Griswold, Suite 810
                                        Detroit, MI 48226
                                          (313) 963-4311
                                          mmag100@aol.com




                                                                        Page 1 of 8
Case 2:17-cr-20183-MAG-RSW ECF No. 241 filed 11/13/18        PageID.984    Page 2 of 8




                        Statement Regarding Concurrence

       I certify and affirm that pursuant to LR 7.1(a)(2)(A), defense counsel sought
 concurrence in this motion and discovery request but did not obtain concurrence in
 the relief sought.
                                    By: /s/Mark H. Magidson
                                    MARK H. MAGIDSON (P25581)
                                    Attorney for Defendant Nero




                       BRIEF IN SUPPORT OF
             DEFENDANT’S MOTION TO COMPEL DISCOVERY




                                      FACTS

       Defendant is charged in the Superseding Indictment (Doc. 98) with the

 following nine counts out of the total 19 counts charged:

    • Count One – sex trafficking conspiracy, contrary to 18 U.S.C. § 1594(c);

    • Counts Three through Eight – sex trafficking by force, fraud and coercion,

       aiding and abetting, contrary to 18 U.S.C. § 1591(a) & (b), and 18 U.S.C. §

       2;


                                                                           Page 2 of 8
Case 2:17-cr-20183-MAG-RSW ECF No. 241 filed 11/13/18           PageID.985    Page 3 of 8




    • Count Eleven – conspiracy to distribute a controlled substance, contrary to

       21 U.S.C. §§ 846, 841(a)(1), 841(b)(1)(A), 841(b)(1)(C); and,

    • Count Eighteen – maintaining drug-involved premises, aiding and abetting,

       contrary to 21 U.S.C. § 856(a)(1), and 18 USC § 2.



       The government obtained a search warrant on January 9, 2017 to search the

 Victory Inn (“Inn”) hotel after multiple FBI agents conducted a lengthy

 surveillance of the co-defendants and activity at the Inn.

       The government generally alleges that the co-defendants engaged in conduct

 that either aided and abetted or caused eight unidentified women, over the age of

 eighteen, to engage in commercial sex acts, that is, the co-defendants engaged in a

 sex trafficking conspiracy. (Ind., Doc. 98, Pg ID 297-299).

       The government also alleges that the co-defendants conspired to possess

 with intent to distribute cocaine and heroin. Id. at 309. The allegation is that the co-

 defendants used the Inn to manage and control the processing and distribution of

 the drugs, variously acting as lookouts or protecting the drugs. Id. at 310. The co-

 defendants also allegedly used the drugs to control and coerce the eight women to

 commit commercial sex acts at the Victory Inn. Id. at 311.

       Defense counsel has learned that the government seized Defendant’s cell

 phone, drug tested Defendant, and that numerous witnesses in this case are addicts.



                                                                              Page 3 of 8
Case 2:17-cr-20183-MAG-RSW ECF No. 241 filed 11/13/18           PageID.986     Page 4 of 8




       On July 7, 2017, Defendant served the government his first written request

 for discovery under Fed. R. Crim. P. 16, the Jencks Act, 18 USC 3500, and Brady

 v. Maryland, 373 U.S. 83, 87, 83 S.Ct. 1194, 1196-1197 (1963). (Exhibit A – 1st

 Discovery Request).

       On October 1, 2018, after learning more about the facts of the case and

 reviewing surveillance video, Defendant served the government his second and

 more specific request for discovery items. (Exhibit B – 2nd Discovery Request).



                                     ARGUMENT


       In order to have an opportunity to move to suppress evidence under Rule

 12(b)(3)(C), a defendant may request notice of the government's intent to use (in

 its evidence-in-chief at trial) any evidence that the defendant may be entitled to

 discover under Rule 16. Fed. R. Crim. P. 12(b)(4)(B).

       The Federal Rules of Criminal Procedure require the government to make

 pretrial disclosure of certain types of information, specifically:

       (E) Upon a defendant’s request, the government must permit the defendant
       to inspect and to copy or photograph books, papers, documents, data,
       photographs, tangible objects, buildings or places, or copies or portions of
       any of these items, if the item is within the government’s possession,
       custody, or control and:

              (i) the item is material to preparing the defense;
              (ii) the government intends to use the item in its case-in-chief at trial;
              or

                                                                               Page 4 of 8
Case 2:17-cr-20183-MAG-RSW ECF No. 241 filed 11/13/18            PageID.987     Page 5 of 8




                (iii) the item was obtained from or belongs to the defendant.

          (F) Upon a defendant’s request, the government must permit a defendant to
          inspect and to copy or photograph the results or reports of any physical or
          mental examination and of any scientific test or experiment if:

                (i) the item is within the government’s possession, custody, or control;
                (ii) the attorney for the government knows—or through due diligence
                could know—that the item exists; and
                (iii) the item is material to preparing the defense or the government
                intends to use the item in its case-in-chief at trial.

          [Fed. R. Crim. P. 16(a)(1)(E) and (F).]


          The disclosure requirements apply not only to the information in the

 prosecutor’s own files, but also to information held by "the law enforcement

 agency investigating the offense." Owens v. Guida, 549 F.3d 399, 415 (6th Cir.

 2008).

          Rule 16 "is intended to prescribe the minimum amount of discovery to

 which the parties are entitled, and leaves intact a court's discretion to grant or deny

 the broader discovery requests of a criminal defendant." United States v Richards,

 659 F3d 527, 543 (6th Cir. 2011)(quoting United States v. Jordan, 316 F.3d 1215,

 1249 n. 69 (11th Cir. 2003) (citation and internal quotation marks omitted).

          If a party fails to comply with Rule 16, this Court has discretion to impose a

 number of sanctions — it may order discovery, grant a continuance, exclude the

 undisclosed evidence, or enter any other order that is just under the circumstances.




                                                                                Page 5 of 8
Case 2:17-cr-20183-MAG-RSW ECF No. 241 filed 11/13/18           PageID.988    Page 6 of 8




 United States v. Jordan, 544 F.3d 656, 667 (6th Cir. 2008)(citing Fed. R. Crim. P.

 16(d)(2)).


       In this case, Defendant has requested the following items of discovery:

       a)    Reports, records, or other material obtained from Defendant’s cell
       phone of any type or nature;

       b)    Any rough notes of any agent that were written during surveillance of
       the Victory Inn or at any other occasion related to this case;

       c)    In order to facilitate potential resolution of this matter, early release of
       any grand jury transcripts and witness statements;

       d)     Early release of any cooperation agreements or other plea deals that
       the government has offered any witness for any reason, whether to testify in
       this case or provide information;

       e)     Information and records of any government witness that would
       indicate potential bias or competence affecting that witness including the
       prior arrest record(s), prior medical records of the witness, if the medical
       condition would affect memory and perception, such as addiction to alcohol
       and or controlled substances, and whether the witness suffered from any
       other mental disorders.

       f)    A preliminary witness list and the substance of the anticipated
       testimony of each witness;

       g)     A preliminary exhibit list that the Government may use at trial;

       h)    Names and addresses of any witness that is favorable to the defense as
       well as any physical evidence that could be considered favorable to the
       defense that the government knows about or has possession of; and,

       i)    Any drug tests and results of drug tests of the Defendant Nero.
       [Ex. A; Ex. B.]




                                                                               Page 6 of 8
Case 2:17-cr-20183-MAG-RSW ECF No. 241 filed 11/13/18           PageID.989     Page 7 of 8




       Those items are required to be disclosed under Fed. R. Crim. P. 16(a)(1)(E)

 and (F). The requested items are documentary evidence and the results of a

 scientific tests under Fed. R. Crim. P. 16(a)(1)(E) and (F). The items and

 information are in the government’s possession and control. And the items and

 information are material to preparing a defense.

       Defendant must be able to review and examine the items requested to

 prepare for trial. Defendant’s cell phone texts, emails, photos, and data will likely

 be relied on by the government at trial in its case in chief in relation to proving a

 conspiracy. The defense must be allowed to examine Defendant’s cell phone data

 to explain what was actually happening and what any photos or video actually

 depict.

       The defense also needs the agent’s rough notes made during surveillance

 because, not only was the surveillance in this case extensive, but the government

 has produced thousands of hours of surveillance video from the Inn that will be

 used at trial. The agent’s rough notes will be necessary to review along with the

 Inn video surveillance evidence before trial, to compare the two.

       Because many of the witnesses in this case are alleged to be addicts, the

 results of any treatment or substance abuse assessments could be incriminating,

 exculpatory, or used for impeachment under Brady v. Maryland, 373 U.S. 83, 10

 L. Ed. 2d 215, 83 S. Ct. 1194 (1963), and United States v. Bagley, 473 U.S. 667,



                                                                               Page 7 of 8
Case 2:17-cr-20183-MAG-RSW ECF No. 241 filed 11/13/18           PageID.990    Page 8 of 8




 105 S. Ct. 3375, 87 L. Ed. 481 (1985). Part of Defendant’s defense is that he was

 merely present because he was an addict, and the results of any drug tests

 performed on Defendant are necessary for preparation of trial and required under

 Fed. R. Crim. P. 16.


           WHEREFORE, Defendant Nero (D-5) moves this Honorable Court to

 compel discovery of the information and objects requested by defense counsel.

                                            Respectfully submitted,
 Date: November 13, 2018
                                            By: /s/Mark H. Magidson
                                              MARK H. MAGIDSON (P25581)
                                              Attorney for Defendant Nero (D-5)
                                              615 Griswold, Suite 810
                                              Detroit, MI 48226
                                              (313) 963-4311; mmag100@aol.com




                            CERTIFICATE OF SERVICE
       I certify that on November 13, 2018, I electronically filed the above Motion
 with the Clerk of the Court using the CM/ECF system, which will send notification
 of such filing to the parties of record.
                                            By: /s/Mark H. Magidson
                                              MARK H. MAGIDSON (P25581)
                                              Attorney for Defendant Nero (D-5)




                                                                              Page 8 of 8
